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           EXHIBIT 7
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                      Amendment to Supply Agreement


       This Amendment (the "Amendment") is made as of the 1st day of April
2004, to the Supply Agreement dated 15th April 2001 ("Supply Agreement"), by
and between Johnson & Johnson Consumer Companies, Inc. and Luzenac
America, Inc.

       WHEREAS, Seller has notified Buyer of the intent to cease manufacturing
operations of the Products in West Windsor, Vermont, and Buyer has agreed to
qualify new product ("New Product") from Seller's manufacturing operations
located in Houston, Texas

       NOW THEREFORE, for good and valuable consideration, the receipt of
which is hereby acknowledged, the parties hereto agree to amend the Supply
Agreement as follows:

   1. Except as specifically provided for in this Amendment, all other terms and
      conditions of the Agreement shall continue in full force and effect. All
      defined terms not otherwise defined in this Amendment shall have the
      meaning set out in the Agreement.

   2. New Product is to be substituted for "Products" in all cases throughout the
      Supply Agreement.

   3. Annex A is amended and restated as set out on the attached Annex A to
      this Amendment. In addition, the parties agree that all New Product shall
      be supplied by Seller solely from the facility specified on the attached
      AnnexA.

   4. Annex B, Section A, is hereby amended and restated as follows:

                 i. Olympic H Talc US$368 PER METRIC TON effective
                    through December 31, 2006

                ii. Price decreases to US$348 PER METRIC TON effective
                    January 1, 2007 through December 31, 2007

                iii. Price decreases to US$338 PER METRIC TON effective
                     January 1,2008 and beyond.




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                                                                  ,-
                 iv. All prices are FOB delivered to Buyer in Royston, Georgia
                     via Bulk Rail

                 v. Pricing from Seller can only be altered should raw material
                    increases or freight increases exceed 3% in any given year.
                    Raw materials include talc, energy costs, packaging, and
                    pallets. Transportation increases include freight from
                    Houston, Texas to Royston, Georgia as well as freight from
                    China to Houston. In the event any such increases exceed
                    3% in a particular year, the prices for the New Product shall
                    be adjusted proportionately upward for the next calendar
                    year to the extent necessary to reflect the amount of the
                    increase which is in excess of 3%. All material or freight
                    increase requests must be substantiated by documentation
                    of increase from increasing party.

   5. Annex B, Section B, is hereby deleted in its entirety.

   6. Section 1( c) is hereby deleted in its entirety.


   7. Section 1(d) is amended from F.O.B. Ludlow, Vermont (the "Shipping
      Point"), to F.O.B. Royston, Georgia (the "Delivery Point"). The risk of loss
      with respect to the New Product shall now pass to Buyer upon receipt and
      acceptance at the Delivery Point.

   8. Section 3 (3) is amended from "".Seller shall maintain an adequate
      number of dedicated silos to ensure timely shipment", to read "".Seller
      shall maintain an adequate number of dedicated silos and rail cars to
      ensure timely shipment".

   9. Section 3 (d) is amended from"" .Agreement, provided, however,,,." to
      read "".Agreement. In such event Seller shall, at Buyer's request, make
      available such dedicated rail cars as may be sufficient to obtain New
      Product from such other source."

   10. Section 4 (c) is amended to delete clause (iii) in its entirety.

   11. Section 7 (a) (ii) is amended from "shall be limited to replacement. ...
       Sections 4 (c) above" to "shall be limited to replacement of New Product".

   12. Section 8 (a) is amended in its entirety to read "This Agreement shall
       expire and terminate effective December 31, 2006, unless sooner
       terminated pursuant to the other provisions of this Agreement."


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   13. Section 22 (b) is amended to read "Contract Year shall mean, for any
       period of time after the date of this Amendment, the twelve-month period
       commencing on April 1st of any year during the term of this Agreement and
       concluding on March 31st of the next succeeding year


   14. Section 23 (a) is amended to read "Seller will assume the leasehold
       interest of Buyer for the equipment specified on the attached Annex B (the
       "Equipment") pursuant to the Transfer Agreement in the form set out on
       the attached Annex C. Upon execution of the Transfer Agreement, Buyer
       shall have no further ownership or leasehold interest of any nature in the
       Equipment, and all right, title and interest in the Equipment shall transfer
       to Seller.

   15. Section 23(b) is amended to remove clause (iii) thereof.

   16. Section 23(c) is amended to remove clauses (ii) and (iv) thereof.

   17.Section 23 (e) is amended to read "Buyer shall be responsible for training
      its employees to operate properly the Equipment and shall supervise all
      operations thereof. Buyer shall be responsible for all personal damages
      or injuries and for any damage to property or Equipment resulting from (i)
      Buyer's operation of the Equipment, or (ii) Buyer's use of the Equipment
      for any purpose other than as specifically contemplated by this
      Agreement.

   18. Section 23(f) is hereby deleted in its entirety.

IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
executed by their duly authorized representatives as of the day and year first .
above written.

LUZENAC AMERICA, INC ..                    JOHNSON & JOHNSON
                                           CONSUMER COMPANIES, INC.

                                            BY:D~
                                           Name:        Q /J1,"ch:.r:I Wi-jf-rI1fJr1
                                           Title:       liP of    Ot>er,di'ol"l~
                                                                   f




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                                                                               ANNEXA

                                  REVISED SPECIFICATIONS


                                  RM08031 OLYMPIC H TALC
                                          TM7252
                                          TM7261
                                          TM9107
                                          TM7807
                                          SOPB30
                                          SOPB29

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                               Facility To Supply New Product


                                    LUZENAC AMERICA, INC.
                                       17509 VAN ROAD
                                      HOUSTON, TX 77049




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                                                                            ANNEX B

                                             Equipment List

           Railcars:

             SHPX 43127
             SHPX 43128
             SHPX 43129
             SHPX 43731
             SHPX43732
             SHPX43733
             SHPX 43734
             SHPX43735
           . SHPX43736
             SHPX 450157

           In addition, the following five railcars are being .used temporarily until inventory
           levels and cars in the pipeline are deemed sufficient by J&J:

           SHPX 42861
           SHPX42862
           SHPX42863
           SHPX42864
           SHPX42865




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                                                                         ANNEX C

                                             Transfer Forms
                                             [To Be Provided]




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                                                                                                           ft . . ,




December, 12,2003


Randall 1. Sycks, Manager, Central District Sales
ACF Industries LLC
15 Spinning Wheel Road, Suite 108,
Hinsdale, IL 60521


Dear Randy,

On January 20, 2003, Wesly Joseph, Business Unit & Warehouse Manage of Johnson & Johnson advised ACF
Industries, by letter (copy ofletter attached) their intent to transfer lease responsibility on contracts: C-7172, C-
7419 and C-7736 to Luzenac America.                                                            .

This letter is to advise you the Luzenac America accepts the contract terms and rates for C-7419 and C-7736 for the
following cars; SHPX 43127, 43128, 43129, 43731, 43732, 43733, 43734, 43735 and 43736. The five cars covered
by C-7172, that expired as of April 30, 2003, will not be renewed or accepted.

Please make this effective January 1,2004.

Thank you for your assistance.


Best Regards,



William S. Canier


Cc:      Wesly Joseph
         Karen Pfrrrman
         Mike Keener
         Tony Saraceni




                                                Luzenac America Inc.
      767 Old Yellowstone Trail, Three Forks, MT 59752 USA          Phone: (406) 285-5327 Fax: (406) 285-3223
